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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                  IN THE UNITED STATES DISTRICT COURT               December 14, 2018
                   FOR THE SOUTHERN DISTRICT OF TEXAS                David J. Bradley, Clerk
                            HOUSTON DIVISION


UNITED STATES OF AMERICA              §
                                      §
v.                                    §          CRIMINAL NO. H-17-651(9)
                                      §
GRISEL SALAS                          §

                         REPORT AND RECOMMENDATION

       Before the court, by referral pursuant to 28 U.S.C. §636(b),

is the matter of the re-arraignment of Grisel Salas, a defendant in

this action.     The court, having addressed Defendant personally in

open court, now submits its Report and Recommendation.

       On December 13, 2018, Defendant, Grisel Salas, appeared with

counsel before the undersigned magistrate judge for the purpose of

entering a guilty plea to Count 18 of the Indictment charging her

with conspiracy to harbor, conceal, and shield from detection

certain aliens present in the United States in violation of the

law,    in   violation    of   8   U.S.C.   §§   1324(a)(1)(A)(ii),(iii),

1324(a)(1)(A)(v)(I), and 1324(a)(1)(B)(i),(iii)(Count 18).

       Defendant, Grisel Salas, consented in writing to plead guilty

before a United States Magistrate Judge.            After conducting said

proceeding in the form and manner prescribed by Rule 11 of the

Federal Rules of Criminal Procedure, this court makes the following

findings of fact:

       1.    Defendant, Grisel Salas, after consultation with
             counsel of record and with the approval of the
             government, has knowingly and voluntarily consented

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          to be advised of her rights and to enter a plea of
          guilty before a U.S. Magistrate Judge subject to
          final approval and imposition of sentence by
          United States District Judge Gray H. Miller.

     2.   Defendant Grisel Salas is fully competent and capable of
          entering an informed plea.

     3.   Defendant Grisel Salas is aware of the nature of the
          charges, the maximum punishment range and other penalties
          that may be imposed at sentencing. She has acknowledged
          that she understands the Plea Agreement terms.

     4.   Defendant Grisel Salas understands her constitutional and
          statutory rights and wishes to waive those rights.

     5.   Defendant Grisel Salas is aware that pursuant to the Plea
          Agreement, she is waiving her right to appeal her
          conviction and sentence, both directly and collaterally.

     6.   Defendant Grisel Salas understands that the sentencing
          judge is not bound by any recommendation on sentencing
          made by either counsel for the government or counsel for
          the defendant, and that if a recommendation on sentencing
          is not followed by the sentencing judge, she may not
          withdraw her plea of guilty.

     7.   Defendant Grisel Salas’s plea of guilty is a knowing and
          voluntary plea supported by an independent basis in fact
          containing each of the essential elements of the offense
          charged in Count 18 of the Indictment.

     Based upon the foregoing findings, it is the RECOMMENDATION of

the undersigned that the guilty plea of Defendant Grisel Salas to

Count 18 of the Indictment be ACCEPTED by the court and that Grisel

Salas be adjudged guilty of the offense alleged in Count 18 of the

Indictment, to wit: conspiracy to harbor, conceal, and shield from

detection certain aliens present in the United States in violation

of the law, in violation of 8 U.S.C. §§ 1324(a)(1)(A)(ii),(iii),

1324(a)(1)(A)(v)(I), and 1324(a)(1)(B)(i),(iii).


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     The Clerk shall send copies of this Report and Recommendation

to the respective parties who have fourteen (14) days from the

receipt thereof to file written objections thereto pursuant to

Federal Rule of Civil Procedure 72(b) and General Order 2002-13.

Failure to file written objections within the time period mentioned

shall bar an aggrieved party from attacking the factual findings

and legal conclusions on appeal.

     The original of any written objections shall be filed with the

United States District Clerk electronically.              Copies of such

objections shall be mailed to opposing parties and to the chambers

of the undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

     SIGNED at Houston, Texas, this 14th day of December, 2018.




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                                              U.S. MAGISTRATE JUDGE




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